Case 2:05-Cr-20252-BBD Document 36 Filed 08/09/05 Page 1 of 4 Page|D 41

UNITED STATES DISTRICT COURT ' ` _f~r~{./TC
WESTERN DISTRICT OF TENNESSEE 05 ,n_g;r~ _~q §
Westero Division ’ '&' l 83 30

UNITED STATES OF AMERICA

 

-v- Case No. 2:05cr20252-2-D

ERRISS MCCLAIN

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel
and the U.S. Attomey in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom M-3, 9"' floor on WEDNESDAY AUGUST 10, 2005, 10:00 AM.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Contlitions

0 Execute a bond in the amount of $10,000.00 or an agreement to forfeit upon failure to appear as required,
and post with the following amount of money to be deposited into the registry of the Court: WflO% CASH
DEPOSIT WITH THE CLERK OF COURT.

0 report as directed by the Pretrial Services Office.
0 Maintain or actively seek employment
0 Abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted

in residence and travel to the Western District of Tennessee without prior approval of Pretrial Services.

0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances m 21 U. S C. §
802, unless with prior written approval of the Pretn`al Services Off`lcer or as ‘
writing by a licensed medical practitioner.

Th\s documentunared on the docket ah
RCrP on
AO 199A Order Settinq Condlttons of Releese Vi{h Hu|e 65_“§£@[ aztb) F

   
 

Case 2:05-Cr-20252-BBD Document 36 Filed 08/09/05 Page 2 of 4 Page|D 42

0 Subrnit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance. Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, andjor any
form of prohibited substance screening or testing.

0 Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCTlONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a f`me, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a tenn
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. 'I`his sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation. lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
inforrnant; or to intimidate or attempt to intimidate a witness, vietim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attenuated
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a tenn of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not rnore than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense ln addition, a failure to appear may result in the forfeiture of any bond posted.

AO 199A Order Seitinq Conditions of Release '2'

Case 2:05-Cr-20252-BBD Document 36 Filed 08/09/05 Page 3 of 4 Page|D 43

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware

M //&( '

Signature of Defendant

ERRISS MCCLAIN
875 CHAMBLISS
MEMPHIS, TN 38116
901-345-3574

DlRECTlONS TO THE UN|TED STATES MARSHAL

|II The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: August 8, 2005 i
V TU M. PHAM

UNITED STATES MAGISTRATE JUDGE

Ao issA order seizing conditions of Release '3'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:05-CR-20252 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

l\/lemphis7 TN 38103

Benard Weinman

LAW OFFICE OF BENARD WEINMAN
275 Jefferson Ave

l\/lemphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

